                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


THOSE CERTAIN UNDERWRITERS                    )
AT LLOYD’S, LONDON WHO                        )
SUBSCRIBE TO CERTIFICATE                      ) NO. 3-13-0068
NUMBER NA125383                               ) JUDGE CAMPBELL
                                              )
v.                                            )
                                              )
WESTERN EXPRESS, INC.                         )



                                              ORDER

        Plaintiff has filed a Notice of Voluntary Dismissal Without Prejudice (Docket No. 15).

Accordingly, this action is DISMISSED without prejudice, and the Clerk is directed to close the file.

       The pretrial conference set for August 4, 2014, and the jury trial set for August 12, 2014, are

canceled. This Order shall constitute the final judgment in this case pursuant to Fed. R. Civ. P. 58.

       IT IS SO ORDERED.


                                                      ___________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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